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       Fact No. 17: Plaintiff Markus Frazier is a Maryland resident. SAC ¶ 23.

       Response: Undisputed.

       Fact No. 18: Frazier joined ACN to make money not to buy services for himself. Frazier
Tr. 26-27.

       Response: Undisputed that Frazier joined ACN to make money to benefit himself and his

household. Disputed to the extent that Frazier also testified that he tried to purchase ACN

services for his household, but his mother, with whom he lived, decided against purchasing ACN

services. Frazier Tr. 65:5-13.

       Further disputed to the extent that Frazier testified he did not recall whether he signed up

for the ACN cellphone service data plan. Frazier Tr. 66:3-5.

        Fact No. 19: Frazier heard about ACN in 2016 from a business acquaintance, who
solicited him and gave him a magazine. Frazier then saw the Celebrity Apprentice and another
TV program, and he recalls President Trump saying that ACN was a great company. Before
joining he watched a webinar that did not include President Trump. Frazier Tr. 11-26.

       Response: Disputed to the extent that Frazier first heard about ACN from Ray Harris,

who was not a “business acquaintance” but a walk-in customer at the fast-food chain where

Frazier worked at the time. ECF 552-2 at 3-4 (Frazier Tr. 11:24-12:22).

       Further disputed because Trump, not ACN or Harris, was “the reason” why Frazier joined

ACN. ECF 536 ¶ 3 (Frazier Decl.) (“I relied on Trump’s endorsement of ACN and his statements

about the ACN IBO Opportunity when I decided to spend $499 to enroll as an ACN IBO.”).

While Harris introduced Frazier to ACN, “[i]t was more Donald Trump that gave me [Frazier]

that motivation [to join ACN].” Frazier Tr. 104:24-25. “If Donald Trump had a company on a

national television show, then [Frazier was] sure he put his stamp of approval to say this is a


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company that anyone can join and be successful in.” Frazier Tr. 23:14-18. “[T]he YouTube

videos of Donald Trump, those were – those were the words of motivation that made [Frazier] at

least attempt to make an effort to make money” from ACN. Ex. 10 (Frazier Tr. 74:11-15). “If

Donald Trump, a successful businessman as it is, vouches for a company like [ACN],” Frazier

was “pretty sure” that he could use the ACN opportunity to be “successful.” Ex. 10 (Frazier Tr.

75:3-7).

       Fact No. 20: Frazier continued to receive motivational pitches from his acquaintance and
attended two local ACN conventions that included motivational speeches, at one of which
President Trump was not even mentioned. Frazier Tr. 31-40.

       Response: Disputed to the extent this is not a complete summary of Frazier’s testimony.

The above occurred after Frazier joined ACN in reliance on Trump’s endorsement, and Frazier

did not subsequently renew his membership in ACN. Frazier Tr. 42:20-43:13. Further stated that

prior to joining ACN, Frazier watched a series of clips of Donald Trump endorsing ACN on

YouTube, which gave him the motivation to join ACN. ECF 552-2 at 19 (Frazier Tr. 39:17-19);

Frazier Tr. 45:11-13, 104:24-25.

       Fact No. 21: Frazier spoke to friends and family after signing up for ACN hoping they
would join ACN or purchase ACN services, but they did not. Frazier Tr. 28-43.

       Response: Undisputed. Further stated that Frazier, despite working full-time elsewhere,

made a “maximum effort” to succeed as an ACN IBO. Frazier Tr. 77:14-16. Consistent with

ACN’s Policies and Procedures, which limit cold marketing, ECF 582-4 at 11, Frazier focused

his efforts on attempting to sell to his friends and family but was unable to make even one

successful sale. ECF 552-2 at 10-11 (Frazier Tr. 27:22-31:10); Frazier Tr. 41:10-42:13. Frazier

testified that he “[c]ame close” to making one sale, but technical issues “with the [ACN

provided] website” prevented him from completing the sale. Frazier Tr. 41:19-42:8.

       Fact No. 22: Frazier attended two local ACN conferences. Frazier Tr. 28-43.



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       Response: Undisputed.

       Fact No. 23: He did not sign up new IBOs or sell products. Frazier Tr. 28-43.

       Response: Undisputed.

        Fact No. 24: Frazier terminated his relationship with ACN about a year after joining.
Frazier Tr. 28-43.

       Response: Undisputed. Further stated that Frazier terminated his relationship with ACN

after his first year because he developed “doubts” about the ACN business opportunity and

couldn’t afford the renewal fee, and now believes that “ACN is pretty much a scam.” Frazier Tr.

42:20-43:25, 106:13-14.

       Fact No. 25: Plaintiff Lynn Chadwick is a Pennsylvania resident. SAC ¶ 23.

       Response: Undisputed.

      Fact No. 26: Chadwick enrolled as an IBO to earn money, not to buy services for herself.
Chadwick Tr. 147-149.

       Response: Undisputed that Chadwick enrolled as an IBO to earn money to benefit herself

and her family. Disputed to the extent that Chadwick also testified that she purchased phone and

DISH TV services from ACN for herself, consistent with ACN’s model plan which encouraged

IBOs to themselves purchase ACN services as a first step in becoming an IBO. Chadwick Tr.

43:15-24.

        Fact No. 27: Chadwick heard about ACN’s videophone product when she was signing up
as an IBO, but that product did not interest her. Chadwick Tr. 140.

       Response: Undisputed. Further stated that to the extent that Defendants rely on this fact

to suggest that                                                                     , that claim is

not supported by the record.

       Fact No. 28: In 2013 a relative who was an IBO convinced Lynn Chadwick to attend a
meeting and join ACN. Chadwick Tr. 21-22.




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       Response: Undisputed that Chadwick’s relative Casey Johnston invited Chadwick to a

meeting. Disputed to the disputed to the extent that the testimony does not establish that the

meeting took place in 2013. ECF 552-1 at 3 (Chadwick Tr. 21:13-17). Further stated that

Johnston did not tell Chadwick what the meeting was for, which Chadwick thought was “kind of

mysterious.” Id. (Chadwick Tr. 21:20-21). At the meeting, Chadwick was shown a video of

Trump that “expressed Donald Trump’s interest in the ACN business model” and that presented a

“snippet from The Apprentice show, which showed a very successful business model and low-

risk opportunities for us to get involved on the ground level.” Id. at 5-6 (Chadwick Tr. 23:23-

24:6). At the meeting, Casey Snyder boasted “about his interactions with Donald Trump” and

“the promotion of ACN on The Apprentice,” which Chadwick found to be “influential.”

Chadwick Tr. 27:20-24. Further stated that Chadwick testified that Trump’s endorsement was the

“original jump off point” for her interest in ACN. ECF 552-1 at 13 (Chadwick Tr. 148:19-23).

Chadwick explained:

              My original jump off point for my interest in ACN was Don -- the
              video that Donald Trump had implied that this whole process was a
              low-risk and easy and a no-brainer, and he’s riding the curtail --
              you know, he’s riding off the coattails of The Apprentice, so I was
              really thinking, “this could be my lucky chance to get in here and
              learn something.” The ACN material came secondary, because I
              had to learn what they were offering. When you sign the IBO, the
              only information and exposure I had was that meeting and Donald
              Trump and [Trump’s] little cardboard character standing in that
              room[.]

Id. at 13-14 (Chadwick Tr. 148:19-149:11).

       Further stated that Chadwick was convinced to join ACN by Trump’s endorsement and

not by her relative. ECF 537 ¶ 3 (Chadwick Decl.) (“Donald Trump’s endorsement convinced me

to join ACN. I relied on Trump’s endorsement of ACN and his statements about the ACN IBO

Opportunity when I decided to spend $499 to enroll as an ACN IBO.”).



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      Fact No. 29: Hearing success stories from other IBOs influenced Chadwick’s decision to
become an IBO. Id. 84-85.

       Response: Disputed to the extent that, as set out in the response to Fact No. 28, Trump’s

endorsement of ACN was the reason Chadwick decided to become an IBO.

       Fact No. 30: Chadwick initially signed up a few IBOs but did not earn income from
them. Id. 38-50.

       Response: Disputed to the extent that Chadwick recruited her son to join ACN but did

not earn income from the recruitment because her son shared the same legal address as Chadwick

on his ID, and so he was excluded as a new recruit under ACN’s criteria, which Chadwick felt to

be unfair because her son in fact resided elsewhere at the time. Ex. 10 (Chadwick Tr. 47:6-

48:17). Chadwick brought a woman named Courtney Matola to a recruitment meeting, but

Chadwick could not recall whether the woman joined or not. Ex. 10 (Chadwick Tr. 47:2-5).

Chadwick made a recruitment list and contacted people on her list, but she was not able to recruit

anyone else. Chadwick Tr. 53:9-54:22.

       Fact No. 31: She attended over a dozen IBO meetings during the following year. Id. 38-
50.

       Response: Undisputed.

       Fact No. 32: Chadwick attended four ACN promotional events. Id.

       Response: Undisputed that Chadwick attended at least four ACN promotional events.

Further stated that Chadwick attended four “Revolution Weekend[s],” which were a specific type

of ACN event costing $35 to $50 in attendance fees. Chadwick Tr. 60:6-22.

       Disputed to the extent that Chadwick was not asked at her deposition, and did not testify

to, the total number of “ACN promotional events” she attended, including ACN conventions, or

the meetings mentioned above in Fact No. 30.

       Fact No. 33: Chadwick renewed her ACN membership in April 2014, but subsequently
ended her relationship with ACN around December 2014. Id. 77.


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       Response: Disputed to the extent that, although Chadwick informed another IBO of her

decision to end her relationship with ACN in December 2014 and ceased actively participating in

ACN from that point, she made no attempt to formally sever her relationship with ACN which

pursuant to ACN’s form agreement continued through April 2015. Chadwick Tr. 77:8-80:7.

       Fact No. 34: Prior to the official end of her tenure with ACN in December 2014,
Chadwick had not participated in ACN for a period of months. Chadwick Tr. 36-42; 54-59; 60-
61; 77-80.

       Response: Disputed to the extent that there was no “official end” to Chadwick’s tenure

with ACN in December 2014 because her membership continued until April 2015. Chadwick Tr.

78:22-25, 79:18-80:7.

       Further disputed to the extent that Chadwick remained active in ACN in the months prior

to December 2014, including by attending a “Revolution Weekend” in November 2014 with her

son and signing up for a trip to California for an ACN meeting in December 2014 that she

ultimately decided not to attend due to its cost. Id. 74:3-76:25.

       Fact No. 35: Plaintiff Catherine McKoy is a California resident. SAC ¶ 21.

       Response: Undisputed.

       Fact No. 36: Ms. McKoy was recruited by former plaintiff Williams and attended a
meeting with members of a club she belonged to and then joined ACN. McKoy Tr. 228-229.

       Response: Undisputed that McKoy’s friend Millard Williams invited her to an ACN

meeting.

       Disputed to the extent that the above does not include a citation to admissible evidence

establishing that “Ms. McKoy was recruited by former plaintiff Williams” or that she “attended a

meeting with members of a club she belonged,” in violation of Local Civil Rule 56.1(d).

       Further stated that Williams did not tell McKoy it was a meeting about ACN or otherwise

explain ACN’s business model. ECF 591-2 at 42-43 (McKoy Tr. 186:22-187:1).


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       Further stated that it was not Williams, but Trump’s endorsement that convinced McKoy

to join ACN. ECF 535 at 1 (Mckoy Decl. ¶ 3) (“Donald Trump’s statements about ACN were the

reason why I became an ACN IBO. I relied on Trump’s endorsement of ACN and his statements

about the ACN IBO Opportunity when I decided to spend $499 to enroll as an ACN IBO.”).

Specifically, after Williams’s vague statements about the meeting, McKoy inquired for more

details, but was told that Williams “can’t talk about it,” and that McKoy had “to talk with his

[Williams’s] upline” instead. ECF 591-2 at 43 (McKoy Tr. 187:19-20). At that initial meeting,

McKoy watched a video in which Trump promoted ACN. Id. at 47 (McKoy Tr. 191:1-3). McKoy

recalled that Trump described ACN on the video she was shown as “a good program to get into”

and a “good business.” Id. at 48-49 (McKoy Tr. 192:6, 193:22). McKoy felt there was no way

joining ACN was “the wrong thing because Trump is in ACN, and he’s giving us good advice.”

Id. at 50 (McKoy Tr. 194:21-22). McKoy explained her initial meeting and her decision to join as

follows:

              I wasn’t going to join period. I was ready to leave. And then they
              put up Trump [on video]. And when he talks about the program
              and ACN, and I wanted to get into it…He’s a rich guy. And if he’s
              into this ACN, there must be something about it. I will join because
              this guy Donald Trump is the one that encouraged that. He did the
              research on this business. He knows that this is a good business. I
              don’t know anything about business. So he knows. I’m going with
              what he says.

Id. at 73 (McKoy Tr. 245:4-20).

         Fact No. 37: She saw a video that included President Trump saying words to the effect
that if you do the work you will make money. McKoy Tr. 228-229.

       Response: Disputed to the extent that McKoy recalled that Trump said words along the

lines of “[T]his business is a good business. If you join this business and you do the work, you

will see the money. You will make the money.” ECF 591-2 at 73 (McKoy Tr. 245:10-12).




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       Further disputed to the extent that McKoy recognized that she had to “do some kind of

work” and was not surprised about that fact. McKoy Tr. 247:16-17.

       Fact No. 38: She did not know who President Trump was, but she learned he was on the
Celebrity Apprentice, which her mother watched but she did not. McKoy Tr. 234; 245; 257-8.

       Response: Disputed in that Defendants mischaracterize McKoy’s testimony. McKoy

testified that, at the initial recruitment meeting, she recognized Trump as a “businessman” and

“rich guy” that her mother “used to watch . . . all the time.” ECF 591-2 at 73 (McKoy Tr. 245:6-

20); McKoy Tr. 233:22-234:8. McKoy testified that as soon as she saw the Trump video at that

meeting, she “remember[ed] my mom and them talking about this guy. He’s a rich guy. And if

he’s into this ACN, there must be something about it. I will join because this guy Donald Trump

is the one that encouraged that.” ECF 591-2 at 73 (McKoy Tr. 245:6-20).

        Fact No. 39: Ms. McCoy attended ACN meetings, signed up five or six IBOs after
joining ACN and sold three products. McKoy Tr. 198-201, 221-225, 248.

       Response: Undisputed that McKoy (incorrectly spelled “McCoy” by Defendants)

recruited at least five IBOs. Disputed to the extent that McKoy sold at least five ACN products or

services, and purchased an additional two ACN services (internet and phone) for herself. McKoy

Tr. 237:21-239:8. For all of this, McKoy received a total compensation of $38. After she

received $38, McKoy started “working more by introducing people. I keep telling everybody that

I know because that’s what they tell me to do, the work. I tell everybody that I know about ACN.

. . . I spread the word. . . . I go to every meeting that they tell me to show up to. And I go to any

convention that they tell me to come to.” McKoy Tr. 241:13-24. But despite these efforts and

accompanying expenses, McKoy testified that she only ever made $38 through ACN. ECF 591-2

at 71 (McKoy Tr. 236:1-2).

       Fact No. 40: Ms. McKoy made $38 from ACN before quitting. Id. 236.

       Response: Undisputed.


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        Fact No. 41: McKoy recalled having heard President Trump’s statements about ACN that
if you do the work you will make money and that he liked the company. McKoy Tr. 202; 229.

       Response: Undisputed. Further stated that McKoy recalled hearing Trump state “[d]o the

work, and you will make the money” in videos that were shown at her initial recruiting meeting

as well as at the Palm Springs convention she attended shortly after joining ACN. ECF 591-2 at

62-63, 67, 73 (McKoy Tr. 206:23-207:5, 229:9-16, 245:9-12).

        Fact No. 42: The three Plaintiffs do not have any detailed recollection of any allegedly
false statements by President Trump including the quoted statements the Second Amended
Complaint claims they relied when they decided to join ACN. Compare SAC ¶¶ 21, 22, 24, 26,
107, 113, 115, 116, 118, 138, 150, 154, 170, 192, 212, 213, 226, 254, 271 to Chadwick Tr. 24-
25; Frazier Tr. 15-18; and McKoy Tr. 191-194.

       Response: Disputed. Plaintiffs recalled numerous false statements by Trump. For

example, McKoy testified that Trump described “how good the business is,” ECF 591-2 at 47

(McKoy Tr. 191:1-3); that he stated “this is a good product” and “business to get into” and that

he “would buy it [himself] if they allowed him,” id. at 48 (McKoy Tr. 192:3-10); described ACN

as “a good company,” id. at 67 (McKoy Tr. 229:9-16); and, told IBOs “[i]f you join this business

and you do the work, you will see the money,” id. at 73 (McKoy 245:10-12). Chadwick recalled

that Trump presented “a very successful business model and low-risk opportunities for us to get

involved on the ground level,” Chadwick Tr. 24:2-6, and Frazier remembered that Trump

“vouched for the business,” Ex. 10 (Frazier Tr. 74:20-21).

       Further disputed to the extent that, as set out in response to Fact Nos. 19, 28, and 36,

Plaintiffs testified that they were exposed to ACN marketing materials, including ACN

promotional videos featuring Trump. Multiple versions of the ACN Opportunity Discs featuring

Donald Trump’s promotional footage touting ACN have been produced in discovery that contain

many of the statements identified in the Second Amended Complaint. See, e.g., SAC ¶¶ 21, 107,




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116, 138, 150, 154, 212, 254, 271. The same is true of other ACN marketing and recruitment

materials in the discovery record.

       Fact No. 43: Some IBOs knew or assumed President Trump was a paid spokesperson.
Barringer Decl. ¶ 5; Davis Decl. ¶ 9; Plumb Decl.¶ 9. Howard Tr. 16-22.

         Response: Disputed to the extent that, due to Defendants’ untimely disclosure, see ECF

600, Plaintiffs have not had opportunity to depose these IBOs who submitted declarations in

connection with Defendants’ motion for class certification, and thus have not been able to

determine the basis for this purported understanding. 2

         Further stated that Defendants have identified no such disclosure anywhere in the

voluminous discovery record.

        Fact No. 44: Plaintiff Frazier gave no thought to whether President Trump was being
paid for his ACN-related activity. Frazier Tr. 51; 90.

         Response: Disputed to the extent that this mischaracterizes Frazier’s testimony. When

asked whether he made “any assumptions” regarding “whether Donald Trump was receiving

anything in exchange for promoting ACN,” Plaintiff Frazier responded: “I had no idea.” ECF

552-2 at 21 (Frazier Tr. 51:9-14).

       Fact No. 45: Plaintiff McKoy thought President Trump was an IBO. McKoy
Tr. 192, 328.

         Response: Disputed to the extent that the above-cited deposition testimony establishes

that Plaintiff McKoy believed that Defendant Trump “was a member” of ACN, not that he “was

an IBO.” ECF 591-2 at 48 (McKoy Tr. 192:23).

       Fact No. 46: Defendant Donald J. Trump is the former President of the United States and
previously was an extremely successful businessman who from 2006 to 2015 was a celebrity
spokesperson for ACN. Merriman Tr. 185; 192; Brinckerhoff Decl. Exhs. 2, 7, 8, 9, 10, 11, 12;
Trump Tr. 21-22; 61-62; 93.



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  Plaintiffs have, therefore, requested leave to depose these declarants in a letter filed concurrently with this brief,
ECF 600, pursuant to an earlier Order issued by Judge Cave, ECF 474.

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       Response: Disputed in that the above once again mischaracterizes the cited article,




        Fact No. 53: Still another magazine article presented only President Trump’s personal
story. Id. Exh. 31.

       Response: Disputed to the extent that this article



       Fact No. 54: A 2010 article included similar content and also addressed the videophone
product. Id. Ex. 32.

       Response: Disputed to the extent that the above mischaracterizes the cited article, which

discusses




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       Fact No. 55: ACN was featured on the television program the Celebrity Apprentice in
2009 and 2011. Brinckerhoff Decl. Exhs. 36 and 37.

          Response: Undisputed.




       Fact No. 56: President Trump discussed ACN on the two Celebrity Apprentice episodes.
Id. Exhs. 36 and 37.

          Response: Undisputed.

       Fact No. 57: On the first episode, President Trump touted the videophone and ACN. Id.
Exhs. 36 and 37.

          Response: Undisputed that President Trump touted the videophone and ACN on the first

episode of The Celebrity Apprentice. Trump stated during the episode, among other things, that




          Fact No. 58: On the second episode he praised ACN and its executives. Id. Exhs. 36
and 37.

          Response: Undisputed that Trump praised ACN and its executives on the second episode

of The Celebrity Apprentice in which ACN was featured.




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Defendants’ untimely disclosure, see ECF 600, Plaintiffs have not had opportunity to depose

Davis and thus have not been able to cross-examine her on the assertions made in the declaration.



       Response:                                                                      . Disputed

to the extent that, due to Defendants’ untimely disclosure, see ECF 600, Plaintiffs have not had

opportunity to depose Barringer and thus have not been able to cross-examine him on the

assertions made in the declaration.



Dated: June 16, 2023
       New York, New York

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